    Case: 1:18-cv-06721 Document #: 4 Filed: 10/05/18 Page 1 of 1 PageID #:1244



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


       Energy Intelligence Group, Inc., et al,       )
                                                     )
                                                     )
                              Plaintiff(s),          )
                                                     )       Judge Joan B. Gottschall
                      v.                             )
                                                     )       Case No. 18 cv 6721
                                                     )
       BMO Nesbitt Securities Ltd., et al,           )
                                                     )
                              Defendant(s).          )


                                              ORDER

         Status hearing set for 12/7/2018 at 9:30 AM in Courtroom 2325. If, by the date of the
scheduled status hearing, defendant has not been served, plaintiff should call the courtroom
deputy (312-435-5641) to request a new status date. No status hearing should be held until all
defendants have been served. Plaintiff is directed to advise the defendants of the status hearing
forthwith. Pursuant to LR 5.2(f), a stapled and/or bound paper copy of all electronically filed
pleadings, including the complaint, must be delivered to chambers (2356) within one business
day of filing. Noncompliance with LR 5.2(f) will result in the imposition of a $200.00 fine
payable to the Clerk of the Court, 219 South Dearborn Street, 20th Floor, Chicago, Illinois
60604. Parties are directed to discuss settlement and whether they consent to proceed before the
Magistrate Judge. They are further directed to meet and confer regarding a proposed discovery
plan. See Judge Gottschall’s civil case management packet regarding pretrial case management
procedures at: http://www.ilnd.uscourts.gov.


                                              ENTER:

                                                         /s/
                                              JOAN B. GOTTSCHALL
                                              United States District Judge

DATED: October 5, 2018
